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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York

AES/DGR                                              271 Cadman Plaza East
F. #2016R00467                                       Brooklyn, New York 11201



                                                     November 3, 2020


VIA ECF

The Honorable Margo K. Brodie
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

               Re:     United States v. Ng Chong Hwa
                       Criminal Docket No. 18-538 (MKB)

Dear Judge Brodie:

       Pursuant to the Court’s order on October 20, 2020, the government and defendant
confirm that both parties are available to proceed with the trial in the above-referenced matter on
March 8, 2021.



                                                     Very truly yours,

       SETH D. DUCHARME                                 DEBORAH L. CONNOR
       Acting United States Attorney                    Chief, Money Laundering and Asset
       Eastern District of New York                     Recovery Section, Criminal Division
                                                        U.S. Department of Justice

 By:    /s/ Alixandra Smith                       By:     /s/ Jennifer Ambuehl
       Alixandra E. Smith                               Jennifer E. Ambuehl
       Drew G. Rolle                                    Nikhila Raj
       Assistant U.S. Attorneys                         Trial Attorneys
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       DANIEL KAHN
       Acting Chief, Fraud Section,
       Criminal Division
       U.S. Department of Justice


 By:    /s/ Katherine Nielsen
       Katherine A. Nielsen
       David Last
       Trial Attorneys


cc.      Marc A. Agnifilo, Esq.
         Zach Intrater, Esq.
         Teny R. Geragos, Esq.
         Jacob Kaplan, Esq.




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